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                       EXHIBIT H
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                                                                                        1
                                    SOUTHERN DIVISION

                                                        Case 213-cr-20710
                                                        Judge: Cleland, Robert H
  UNITED STATES OF AMERICA,
                                                        MJ Randon, Mark A
                                                        Filed 09-26-2013 At 08:38 AM
                 V.                                     INFO USA V. MITSUBISHI ELECTRIC COR
                                                        P (TAM)

  MITSUBISHI ELECTRIC CORPORATION
                                                        Violation: 15 U.S.C. § 1
                 Defendant.
  - - - - - - - - - - - - - - -I


                                           INFORMATION

                                       COUNT ONE
                              CONSPIRACY TO RESTRAIN TRADE
                                       (15 u.s.c. § 1)

  THE UNITED STATES, ACTING THROUGH ITS ATTORNEYS, CHARGES:

                                  Defendant and Co-Conspirators

         1.      Mitsubishi Electric Corporation ("Defendant") is a corporation organized and

  existing under the laws of Japan with its principal place of business in Tokyo, Japan. During the

  period covered by this Information, Defendant was engaged in the business of manufacturing and

  selling various automotive parts, including starter motors, alternators, and ignition coils to Ford

  Motor Company, General Motors LLC, Chrysler Group LLC, Fuji Heavy Industries Ltd., Nissan

  Motor Company Ltd., Honda Motor Company Ltd., and certain of their subsidiaries

  ("automobile manufacturers") for installation in vehicles manufactured and sold in the United

  States and elsewhere.

         2.      Various corporations and individuals, not made defendants in this Information,

  participated as co-conspirators in the offense charged in this Information and performed acts and

  made statements in furtherance of it.
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          3.     Whenever in this Information reference is made to any act, deed, or transaction of

  any corporation, the allegation means that the corporation engaged in the act, deed, or transaction

  by or through its officers, directors, employees, agents, or other representatives while they were

  actively engaged in the management, direction, control, or transaction of its business or affairs.

                                      Background of the Offense

         4.      During the period covered by this Information, Defendant and its co-conspirators

  supplied automotive parts to automobile manufacturers for installation in vehicles manufactured

  and sold in the United States and elsewhere. During the period covered by this Information,

  Defendant and its co-conspirators manufactured automotive parts: (a) in the United States and

  elsewhere for installation in vehicles manufactured and sold in the United States; (b) in Japan

  and elsewhere for export to the United States and installation in vehicles manufactured and sold

  in the United States; and (c) in Japan and elsewhere for installation in vehicles manufactured in

  Japan and elsewhere for export to and sale in the United States.

         5.      The defendant manufactured various automotive parts, including starter motors,

  alternators, and ignition coils. Starter motors are small electric motors used in starting internal

  combustion engines. Alternators generate an electric current while the engine is in operation.

  Ignition coils are part of the fuel ignition system and release electric energy suddenly to ignite a

  fuel mixture. When purchasing automotive parts, automobile manufacturers typically issue

  Requests for Quotation ("RFQs") to automotive parts suppliers on a model-by-model basis for

  model specific parts. Automotive parts suppliers submit quotations, or bids, to the automobile

  manufacturers in response to RFQs, and the automobile manufacturers award the business to the

  selected automotive parts supplier for the lifespan of the model, which is usually four to six

  years. Typically, the bidding process for a particular model begins approximately three years




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   prior to the start of production. Automobile manufacturers procure parts for U.S.-manufactured

  vehicles in the United States and elsewhere.

                                     Conspiracy to Restrain Trade

          6.      From at least as early as January 2000 and continuing until at least February 2010,

  the exact dates being unknown to the United States, Defendant and its co-conspirators

  participated in a combination and conspiracy to suppress and eliminate competition in the

  automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the price

  of, certain automotive parts sold to automobile manufacturers in the United States and elsewhere.

  The combination and conspiracy engaged in by Defendant and its co-conspirators was in

  unreasonable restraint of interstate and foreign trade and commerce in violation of the Sherman

  Antitrust Act, 15 U.S.C. § 1.

          7.     The charged combination and conspiracy consisted of a continuing agreement,

  understanding, and concert of action among Defendant and its co-conspirators, the substantial

  terms of which were to rig bids for, and to fix , stabilize, and maintain the prices of, certain

  automotive parts, including starter motors, alternators, and ignition coils, sold to automobile

  manufacturers in the United States and elsewhere.

                                Manner and Means of the Conspiracy

          8.     For purposes of forming and carrying out the charged combination and

  conspiracy, Defendant and its co-conspirators did those things that they combined and conspired

  to do , including, among other things:

                 a.      participating in meetings, conversations, and communications in the

         United States and elsewhere to discuss the bids and price quotations to be submitted to

         automobile manufacturers in the United States and elsewhere;




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                 b.       agreeing, during those meetings, conversations, and communications, on

         bids and price quotations to be submitted to automobile manufacturers in the United

         States and elsewhere;

                 c.       agreeing, during those meetings, conversations, and communications, to

         allocate the supply of certain automotive parts sold to automobile manufacturers in the

         United States and elsewhere;

                 d.       agreeing, during those meetings, conversations, and communications, to

         coordinate price adjustments requested by automobile manufacturers in the United States

         and elsewhere;

                 e.       submitting certain bids, price quotations, and price adjustments to

         automobile manufacturers in the United States and elsewhere in accordance with the

         agreements reached;

                 f.       selling certain automotive parts to automobile manufacturers in the United

         States and elsewhere at collusive and noncompetitive prices;

                 g.       accepting payment for certain automotive parts sold to automobile

         manufacturers in the United States and elsewhere at collusive and noncompetitive prices;

                 h.       engaging in meetings, conversations, and communications in the United

         States and elsewhere for the purpose of monitoring and enforcing adherence to the

         agreed-upon bid-rigging and price-fixing scheme; and

                 1.       employing measures to keep their conduct secret, including, but not

         limited to, using code names and meeting at remote locations.

                                        Trade and Commerce

         9.      During the period covered by this Information, Defendant and its co-conspirators

  sold to automobile manufacturers located in various states in the United States substantial


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  quantities of various automotive parts shipped from outside the United States and from other

  states in a continuous and uninterrupted flow of interstate and foreign trade and commerce. In

  addition, substantial quantities of equipment and supplies necessary to the production and

  distribution of various automotive parts sold by Defendant and its co-conspirators, as well as

  payments for various automotive parts sold by Defendant and its co-conspirators, traveled in

  interstate and foreign trade and commerce. The business activities of Defendant and its co-

  conspirators in connection with the production and sale of certain automotive parts that were the

  subject of the charged conspiracy were within the flow of, and substantially affected, interstate

  and foreign trade and commerce.

                                         Jurisdiction and Venue

            l 0.     The combination and conspiracy charged in this Information was carried out, at

  least in part, in the Eastern District of Michigan within the five years preceding the filing of this

  In form a ti on.




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  ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION I.

  Dated: SEPTEMBER 26, 2013



  s/SCOTT D. HAMMOND                    s/LISA M. PHELAN
  Scott D. Hammond                      Lisa M. Phelan
  Deputy Assistant Attorney General     Chief~ National Criminal Enforcement Section
  Antitrust Division                    Antitrust Division
  United States Department of Justice   United States Department of Justice



  s/MARVIN N. PRICE                     s/KATHR YN M. HELLINGS
  Marvin N. Price                       Kathryn M. Hellings
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                                                                                                               Judge Cleland, Robert H.
                                                                                                               MJ Randon. Mark A
                                                                                                               Filed 09-26-2013 At 08 38 AM
                                                                                                               INFO USA V MITSUBISHI ELECTRIC COR
United States District Court                                     Criminal Case Co,                             P (TAM)
Eastern District of Michigan


NOTE: It is the responsibility of the Trial Attorney signing this form to complete it accurately in all respects.


Reassignment/Recusal Information This matter was opened in the USAO prior to August 15, 2008                                                                                     [   J

 Comnanion Case Information                                                                               Companion Case Number:                      2: 12-cr-20063
 This may be a companion case based upon LCrR 57.10 (b)(4) 1 :                                            Judge Assigned: Hon. George C. Steeh

                          ~Yes                       0No                                                  AUSA's Initials:             l/ \_\..
           Case Title: USA v. Mitsubishl Electric Corporation

           County where offense occurred : Wayne County & Elsewhere

           Check One:                      ~ Felony                                          D Misdemeanor                                                0Petty

                       __lndictment1_{_1nformation --- no prior complaint.
                       __lndictment/_ _ lnformation --- based upon prior complaint [Case number:
                       __lndictment/_ _ lnformation --- based upon LCrR 57.10 (d) {Complete Superseding section below].

Superseding Case Information

Superseding to Case No:                                                                                            Judge:------------
                                               --------------
                        Original case was terminated; no additional charges or defendants.
                        Corrects errors; no additional charges or defendants.
                        Involves, for plea purposes, different charges or adds counts.
                        Embraces same subject matter but adds the additional defendants or charges below:

                        Defendant name                                                           Charges                              Prior Complaint (if applicable)




Please take notice that the below listed Trial At orney is the attorney of record for the above
captioned case.
           ~I• z. toD' teLA) 13                                                    K ie Hellings
                                                                                   Trlal Attorney
                                                                                   U.S. Dept. of Justice, Antitrust Division
                                                                                   National Criminal Enforcement Section
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                                                                                   Washington, DC 20530
                                                                                   Phone: (202) 307-0934
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                                                                                   E-Mail address: katie.hellings@usdoj.gov

, Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial , (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated                                                               (5120113)
